         Case 4:18-cv-00919-BSM Document 26 Filed 11/05/20 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

JOHN POWELL                                                                     PLAINTIFF

v.                           CASE NO. 4:18-CV-00919-BSM

JEFFERSON COUNTY, et al.                                                     DEFENDANTS

                                          ORDER

       John Powell is awarded damages from Jefferson County, Hank Wilkins, individually,

and Booker Clemons, individually, in the amount of $16,120 for his lost wages and $4,030

for his pain and suffering. Jefferson County is ordered to declare Powell “rehireable” and

to remove any negative references from his personnel file. Jefferson County is also ordered

to declare that Powell’s employment separation date is October 15, 2018, and to provide this

information to the relevant state agencies so that Powell may vest in the state’s pension plan.

Powell’s request for liquidated damages is denied for the reasons stated from the bench

during the damages hearing.

       Plaintiff’s counsel is directed to timely file a motion for attorney’s fees and costs if

such a motion is appropriate for the claims at issue.

       IT IS SO ORDERED, this 5th day of November, 2020.


                                                   _________________________________
                                                   UNITED STATES DISTRICT JUDGE
